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                        Exhibit A
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 Attorneys for Plaintiffs Atlas Data Privacy
 Corporation, Jane Doe-1, a law
 enforcement officer, Jane Doe-2, a law
 enforcement officer, and Peter Andreyev



 ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
 as assignee of individuals who are Covered LAW DIVISION, MORRIS COUNTY
 Persons, JANE DOE-1, a law enforcement     DOCKET NO.: MRS-L-_______-24
 officer, JANE DOE-2, a law enforcement
 officer, and PETER ANDREYEV,                         CIVIL ACTION

                Plaintiffs,
        v.                                                         COMPLAINT

 TELNYX LLC, RICHARD ROES 1-10,
 fictitious names of unknown individuals and
 ABC COMPANIES 1-10, fictitious names of
 unknown entities,

                Defendants.



       Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), and Peter Andreyev (collectively, “Plaintiffs”), by and through

their undersigned counsel, hereby submit this Complaint against Defendants and state as follows:

                                       INTRODUCTION
       1.      In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

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Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors – and their families – with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve – and their families – must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

provisions, Atlas brings this action as an assignee for certain individuals, including many family

members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.




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                                          BACKGROUND

         Passage of Daniel’s Law in New Jersey

         5.     In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

         6.     During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.

         7.     Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,1 the same kind of

data broker services at issue in this case.




1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.
                                                 3
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        New Jersey Passes Daniel’s Law in 2020

        8.      In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

        9.      Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an




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oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety … [a] judicial system cannot and should not live in fear.”2

       11.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

       12.     The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,3 and it was signed by President Biden.4

       Violence Against Police Officers and Judges Has Not Stopped

       13.     Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5

       14.     More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7




2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.
5
  Shooters Open Fire On Home Of New Jersey Police Officers In ‘Targeted Attack,’ Chief Says
(forbes.com).
6
  Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says | CNN.
7
  Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say |
CNN.
                                                  5
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                                         THE PARTIES

       The Individual Plaintiffs

       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-1’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1’s movements to and from her

home, immediately prior to the task force initiating arrests.

       16.     Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career, Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

        17.    Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department.       Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than

33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. Officer Andreyev has counseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm. whose protected information has been discovered and has responded to specific incidents

where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

officers.

        Plaintiff Atlas and its Assignors

        18.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.

        19.    As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 14,743 individuals who are all “covered persons” under




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Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

        20.    The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

        21.    As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites or through other

methods of disclosure.

        22.    Defendants have not complied with the law by ceasing the disclosure or re-

disclosure on the Internet or the otherwise making available of protected information as required

under Daniel’s Law for each of the Covered Persons (as well as each of the Individual Plaintiffs)

as required by the law.

        23.    In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

        24.    Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New

Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November



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2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       25.     Upon signing up for Atlas, a law enforcement officer or other Covered Person is

asked a series of questions to collect required personal information and qualify their eligibility as

a covered person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:




       26.     AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

unique inbox address (e.g. john.doe23@atlasmail.com) for their personal use. A description of



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AtlasMail and more information about how the email service works are provided on a page during

the signup process:




       27.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown

notices. If they choose not to send takedown notices to the recommended list, they can select

individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.


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       28.     Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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       29.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

       Defendants

       30.    Defendant Telnyx LLC is an entity that discloses or re-discloses on the Internet or

otherwise makes available the home addresses and/or unpublished home telephone numbers of

covered persons.




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       31.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       32.     Defendants offer and engage in the disclosure of data and information through one

or more websites or applications, or otherwise in New Jersey, and to businesses and individuals

who operate or reside in New Jersey. Those websites include:

       telnyx.com

       33.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons). The following is a redacted example of the detailed information

provided by Defendants,8 in violation of Daniel’s Law:




8
 Consistent with the mandate of Daniel’s Law and the public policy considerations underpinning
Rule 1:38-7, personal information in the search results has been redacted from the exemplar
screenshots included herein.
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        34.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                  JURISDICTION AND VENUE

        35.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.

        36.     Venue is proper pursuant to R. 4:3-2, in that Morris County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        37.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        38.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        39.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        40.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,



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transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

         41.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

         42.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.

         43.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:9

                 3.a. (1) Upon notification pursuant to paragraph (2) of this subsection, and
                 not later than 10 business days following receipt thereof, a person, business,
                 or association shall not disclose or redisclose on the Internet or otherwise
                 make available, the home address or unpublished home telephone number
                 of any covered person, as defined in subsection d. of this section.
                 b. A person, business, or association that violates subsection a. of this
                 section shall be liable to the covered person, or the covered person’s
                 assignee, who may bring a civil action in the Superior Court.
                 c. The court shall award:
                    (1) actual damages, but not less than liquidated damages computed
                    at the rate of $1,000 for each violation of this act;
                    (2) punitive damages upon proof of willful or reckless disregard of
                    the law;
                    (3) reasonable attorney’s fees and other litigation costs reasonably
                    incurred; and
                    (4) any other preliminary and equitable relief as the court determines
                    to be appropriate.
                 d. For the purposes of this section:
                    …“Disclose” shall mean to solicit, sell, manufacture, give, provide,
                    lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,
                    disseminate, present, exhibit, advertise or offer, and shall include

9
    https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF
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                  making available or viewable within a searchable list or database,
                  regardless of whether a search of such list or database is actually
                  performed.”
       44.     Starting on or about January 19, 2024, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.

       45.     For example, a true and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




       46.     Defendants failed to cease the disclosure or re-disclosure on the Internet or the

otherwise making available of the protected information of the Individuals Plaintiffs and Covered

Persons within the time period required by Daniel’s Law.

       47.     Even as of the date of this filing, Defendants still refuse to comply with Daniel’s

Law. Protected information of the Individual Plaintiffs and those Covered Persons who assigned

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Atlas their Daniel’s Law claims against Defendants remains available from Defendants using

Defendants’ search tools or other means of disclosure.

        48.    All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.

        49.    The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.

                                          COUNT ONE

                                          (Daniel’s Law)

        50.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        51.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        52.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        53.    As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information (including home addresses and/or unpublished home telephone

numbers) of the Individual Plaintiffs and the Covered Persons remains “available or viewable

within a searchable list or database” or otherwise made available.

        54.    Defendants did not cease the disclosure or re-disclosure on the Internet or the

otherwise making available of information as required under Daniel’s Law, and their failure in

doing so each constitute a separate violation under the law.



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       55.     As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.

       56.     As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information of the Individual Plaintiffs and the Covered Persons remains disclosed

or otherwise made available despite proper requests for nondisclosure in violation of Daniel’s Law.

As such, Plaintiffs request that the Court enter all appropriate legal and equitable relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:
   A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

       disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home

       addresses, and unpublished home telephone numbers wherever disclosed or re-

       disclosed on the Internet or otherwise made available;

   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at

       “$1,000 for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court,

       for “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation

       costs incurred;

   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       remove the Individual Plaintiffs’ and the Covered Persons’ protected information

       wherever disclosed;

   F. Entering equitable or other permanent injunctive relief requiring Defendants to

       comply with Daniel’s law, including the appointment of a qualified independent

       expert to ensure that Defendants prospectively maintain compliance with Daniel’s

       Law; and

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   G. Awarding such other and further relief against Defendants as the Court deems

       equitable and just.

                                                        Respectfully Submitted,
                                                        GENOVA BURNS LLC

 Dated: February 8, 2024                                By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh
                                                        Kathleen Barnett Einhorn
                                                        494 Broad Street
                                                        Newark, New Jersey 07102
                                                        Tel: (973) 533-0777
                                                        Attorneys for Plaintiffs

                                                        MORGAN & MORGAN COMPLEX
                                                        LITIGATION GROUP
                                                        John A. Yanchunis
                                                        Ryan J. McGee
                                                        201 North Franklin Street, 7th Floor
                                                        Tampa, FL 33602
                                                        Tel.: (813) 223-5505
                                                        jyanchunis@ForThePeople.com
                                                        rmcgee@ForThePeople.com

                                                        (pro hac vice motions to be filed)



                         DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                        GENOVA BURNS LLC

 Dated: February 8, 2024                                By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.



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                   CERTIFICATION PURSUANT TO RULE 4:5-1

       Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                        GENOVA BURNS LLC

 Dated: February 8, 2024                               By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.



                 CERTIFICATION PURSUANT TO RULE 1:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                        GENOVA BURNS LLC

 Dated: February 8, 2024                               By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.




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                        Civil Case Information Statement
Case Details: MORRIS | Civil Part Docket# L-000260-24

Case Caption: ATLAS DATA PRIVACY C ORPORATIO VS                  Case Type: OTHER Daniel's Law
TELNYX LLC                                                       Document Type: Complaint
Case Initiation Date: 02/08/2024                                 Jury Demand: NONE
Attorney Name: RAJIV D PARIKH                                    Is this a professional malpractice case? NO
Firm Name: GENOVA BURNS LLC                                      Related cases pending: NO
Address: 494 BROAD ST 6TH FL                                     If yes, list docket numbers:
NEWARK NJ 07102                                                  Do you anticipate adding any parties (arising out of same
Phone: 9735330777                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : ATLAS DATA PRIVACY                    Does this case involve claims related to COVID-19? NO
CORPORATION
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: ATLAS DATA PRIVACY
                                                                 CORPORATION? NO
(if known): Unknown


                                                                 Are sexual abuse claims alleged by: JANE DOE 1? NO



                                                                 Are sexual abuse claims alleged by: JANE DOE 2? NO



                                                                 Are sexual abuse claims alleged by: PETER ANDREYEV? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
Medical Debt Claim? NO
      MRS-L-000260-24 02/08/2024
      MRS-L-000260-24 02/08/20248:58:19
                                 8:58:19PM
                                        PM Pg 2 of 2 Trans
                                                      TransID:
                                                            ID:LCV2024361075
                                                                LCV2024361075
Case 1:24-cv-04354-HB            Document 1-1        Filed 03/28/24       Page 25 of 27 PageID: 45




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

02/08/2024                                                                           /s/ RAJIV D PARIKH
Dated                                                                                             Signed
           MRS-L-000260-24 02/10/2024 5:21:19 AM Pg 1 of 1 Trans ID: LCV2024373988
      Case 1:24-cv-04354-HB    Document 1-1      Filed 03/28/24   Page 26 of 27 PageID: 46
MORRIS COUNTY SUPERIOR COURT
PO BOX 910
MORRISTOWN       NJ 07963

                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (862) 397-5700
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   FEBRUARY 09, 2024
                              RE:     ATLAS DATA PRIVACY C ORPORATIO     VS TELNYX LLC
                              DOCKET: MRS L -000260 24

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 1.

     DISCOVERY IS   150 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON NOAH FRANZBLAU

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM        001
AT:   (862) 397-5700 EXT 75351.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: RAJIV D. PARIKH
                                             GENOVA BURNS LLC
                                             494 BROAD ST 6TH FL
                                             NEWARK           NJ 07102

ECOURTS
    MRS-L-000260-24 03/01/2024 10:42:07 AM Pg 1 of 1 Trans ID: LCV2024554180
Case 1:24-cv-04354-HB   Document 1-1    Filed 03/28/24   Page 27 of 27 PageID: 47
